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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
 TRECOM SYSTEMS GROUP, INC.,                    :
               Plaintiff,                       :
                                                : Case No. ________
        v.                                      :
                                                :
 MJ FREEWAY, LLC, and AKERNA                    : ELECTRONICALLY FILED
 CORPORATION,                                   :
                 Defendants.                    :
                                                :
                                                :


                                         COMPLAINT

       Plaintiff TreCom Systems Group, Inc., by and through undersigned counsel, complains and

alleges as follows:

                                   NATURE OF THE CASE

       1.       Defendant MJ Freeway, LLC, took advantage of TreCom’s status as one of the

oldest and most respected Black-owned information technology companies in Pennsylvania to

obtain a lucrative contract with the Pennsylvania Department of Health that called for MJ Freeway

to serve as the prime contractor and TreCom as the subcontractor.

       2.       The subcontractor agreement between MJ Freeway and TreCom runs for an initial

term of five years from April 2017 through April 2022, plus three option years that are renewable

at the sole discretion of the Commonwealth of Pennsylvania.

       3.       Despite full and consistently excellent performance on the part of TreCom, MJ

Freeway issued a notice of termination of the subcontractor agreement in August 2020.

       4.       MJ Freeway had no contractual right to terminate the subcontractor agreement, and

the Commonwealth of Pennsylvania swiftly requested MJ Freeway to rescind the notice of

termination.
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       5.       Nevertheless, despite continuing to use TreCom’s services as a subcontractor, MJ

Freeway and its parent company, Defendant Akerna Corporation, have not paid TreCom since

issuing the termination notice in August 2020, and evidently has no intention of ever again making

contractually required payments to TreCom.

       6.       As a result, TreCom has suffered and continues to suffer devastating financial

losses that threaten its continued existence.

                                                PARTIES

       7.       Plaintiff TreCom Systems Group, Inc., is a Pennsylvania corporation with a

principal place of business at 700 E Township Line Rd., No. 205, Havertown, PA 19083.

       8.       Defendant MJ Freeway, LLC, is a Colorado limited liability company with a

principal place of business at 1601 Araphoe St., Suite 900, Denver, CO 80202.

       9.       Defendant Akerna Corporation, the parent company of MJ Freeway,1 is a Colorado

corporation with a principal place of business at 1630 Welton St., 4th Floor, Denver, CO 80202.

                                 JURISDICTION AND VENUE

       10.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) because TreCom is

a corporate citizen of the Commonwealth of Pennsylvania, MJ Freeway and Akerna are corporate

citizens of the State of Colorado, and the amount in controversy exceeds $75,000.

       11.      Venue is proper pursuant to 28 U.S.C. § 1391(a)(2) because a substantial part of

the events giving rise to TreCom’s claims against MJ Freeway and Akerna occurred within the

Eastern District of Pennsylvania.



1
  See https://akerna.mediaroom.com/2021-01-15-Akerna-Reveals-Top-5-Cannabis-Sales-Days-of-2020
(referencing “Akerna's MJ Freeway subsidiary”); https://www.sec.gov/Archives/edgar/data/1755953/
000121390019013006/fs32019ex21-1_akernacorp.htm (listing MJ Freeway as a subsidiary of Akerna).




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                                  FACTUAL ALLEGATIONS

       A.       Background

       12.      On or about December 15, 2016, the Commonwealth of Pennsylvania issued a

request for quotations and an invitation to qualify to provide information technology services

related to the implementation of a new medical marijuana program the Pennsylvania Department

of Health was to oversee.

       13.      Per the terms of the request for quotation, the evaluation criteria for respondents

involved a numerical grading system for each respondent’s proposal, with 20% of the total points

to be based on the extent of participation by small businesses and small diverse businesses, as

certified by the Pennsylvania Department of General Services Bureau of Diversity, Inclusion &

Small Business Opportunities.

       14.      MJ Freeway and Akerna are not certified as small businesses or small diverse

businesses.

       15.      In contrast, TreCom is certified with the Pennsylvania Department of General

Services Bureau of Diversity, Inclusion & Small Business Opportunities as a small diverse

business.

       16.      On April 18, 2017, the Commonwealth awarded the prime contract to MJ Freeway,

subject to a requirement that at least 35.09% of the work under that contract would be performed

by TreCom.

       17.      The parties agreed between themselves that TreCom would receive a total of

$3,379,714.11 in payments for the first five years of the contract, which represented 35.09% of the

payments the Commonwealth was to make to MJ Freeway during the same period, as well as the




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same percentage of any revenue received in any of three subsequent option years the

Commonwealth had the right to exercise.

        18.    There were two subcontractor agreements between MJ Freeway and TreCom.

        19.    The parties executed the first subcontractor agreement, which MJ Freeway or its

attorneys drafted, on May 4, 2017.

        20.    Three weeks later, on May 26, 2017, Amy Poinsett, the chief executive officer of

MJ Freeway, e-mailed Phillip R. Gring, the chief operating officer of TreCom, to request that he

execute a new subcontractor agreement in a standard form preferred by the Commonwealth.

        21.    MJ Freeway and TreCom executed the new subcontractor agreement on May 26,

2017.

        B.     Key Terms of the Operative Subcontractor Agreement

        22.    The May 26, 2017 subcontractor agreement is reproduced as Exhibit A to this

complaint and incorporated by reference as if fully set forth herein.

        23.    That agreement, though signed on May 26, 2017, sets forth the parties’ obligations

to one another from April 17, 2017, until April 17, 2022, plus up to three option years to be awarded

at the sole discretion of the Commonwealth.

        24.    As stated, the May 26, 2017 subcontractor agreement calls for TreCom to perform

35.09% of the work in exchange for $3,379,714.11 over the first five years of the contract, as well

as 35.09% of any revenue received by MJ Freeway in any of three subsequent option years the

Commonwealth had the right to exercise.

        25.    Per paragraph 22 of the May 26, 2017 subcontractor agreement, that “Subcontract

constitutes the entire agreement of the Parties regarding the subject of this Subcontract as of the




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date of execution. No other agreement or understandings, verbal or written, expressed or implied,

are a part of this Subcontract unless specified herein.”

        26.     Accordingly, the May 26, 2017 subcontractor agreement superseded and replaced

the May 4, 2017 agreement.

        27.     The May 26, 2017 agreement, unlike the superseded May 4, 2017 agreement, does

not authorize MJ Freeway to terminate the contract without TreCom’s consent.

        C.      Performance and Change Orders

        28.     MJ Freeway has never expressed dissatisfaction with TreCom’s performance of its

obligations under the May 26, 2017 subcontractor agreement, much less good and lawful cause to

terminate the agreement.

        29.     Quite the contrary, at MJ Freeway’s request the parties have executed numerous

change orders to the May 26, 2017 subcontractor agreement that have called for TreCom to

perform even more services than were covered by the original agreement in exchange for

additional compensation.

        30.     These change orders are reproduced as Exhibit B to this complaint and incorporated

by reference as if fully set forth herein.

        31.     In particular, MJ Freeway offered and agreed to pay TreCom the following

additional compensation for services beyond those covered in the original subcontractor

agreement:

                a.      $25,000 for new and additional services from July 10, 2017, through

                        October 28, 2017.

                b.      $47,800 for new and additional services from October 29, 2017, through

                        January 31, 2018.




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               c.      $71,700 for new and additional services from February 1, 2018, through

                       April 30, 2018.

               d.      $47,800 for new and additional services from May 1, 2018, through June

                       30, 2018.

               e.      $462,000 for new and additional services from July 1, 2018, through

                       December 21, 2018.

               f.      $462,000 for new and additional services from January 1, 2019, through

                       June 30, 2019.

               g.      $462,000 for new and additional services from July 1, 2019, through

                       December 31, 2019.

               h.      $231,000 for new and additional services from January 1, 2020, through

                       March 31, 2020.

               i.      $231,00 for new and additional services from April 1, 2020, through June

                       3, 2020.

               j.      $86,985 for new and additional services from July 1, 2020, through August

                       3, 2020.

       32.     These change orders have added $2,167,285 to the original $3,379,714.11 MJ

Freeway owes TreCom through the first five years of the subcontractor agreement, for a total of

$5,546,999.11.

       33.     In addition, MJ Freeway will owe TreCom at least 35.09% of any money it receives

from the Commonwealth from April 18, 2022 until April 17, 2025, should the Commonwealth

elect to exercise any or all of three option years included in the prime contract.




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        D.      Defendants’ Unlawful Termination Notice and Associated Breaches

        34.     By letter dated August 4, 2020, MJ Freeway notified TreCom of its intent to

terminate the subcontractor agreement in thirty days.

        35.     That letter, which contained no explanation for the planned termination, cited

Section 12.1 of the subcontractor agreement as ostensible support for MJ Freeway’s claimed right

to terminate the agreement.

        36.     In fact, however, the May 26, 2017 subcontractor agreement contained neither a

Section 12.1 nor a provision authorizing MJ Freeway to terminate the agreement without

TreCom’s consent.

        37.     Instead, MJ Freeway was erroneously invoking the May 4, 2017 agreement, which

had long since been replaced and superseded by the May 26, 2017 agreement.

        38.     By letter dated August 26, 2020, the Pennsylvania Department of General Services

advised MJ Freeway that its notice of termination was “entirely unacceptable and contrary to its

contractual obligations to the Commonwealth,” and requested that MJ Freeway immediately

rescind the notice.

        39.     Nevertheless, MJ Freeway did not rescind the notice of termination, and has not

made any of its contractually required payments to TreCom since August 2020.

        40.     In September 2020, Mr. Gring, TreCom’s COO, sent an invoice to Akerna via e-

mail, as per the parties’ usual practice.

        41.     After initially receiving assurances from Akerna’s corporate controller, Kristen

Naughton, that she would “figure out where these have been getting held up in our process” so as

to ensure timely payment to TreCom, Mr. Gring received an e-mail from Akerna’s COO, Ray




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Thompson, attaching a letter from “our attorneys” (i.e., Akerna and MJ Freeway’s shared

attorneys) stating that TreCom would not be paid further.

       42.     Remarkably though, despite having stopped all payments and purported to

terminate the contract, MJ Freeway continues to treat TreCom as a subcontractor and place

requests for services and equipment related to the subcontractor agreement with TreCom.

       43.     By letter dated January 6, 2021, the Pennsylvania Department of General Services

again requested MJ Freeway to rescind its improper notice of termination, and further explained

that, “even in the absence of a written rescission, MJ Freeway’s continuing use of TreCom along

with their contractual obligation to the Commonwealth to continue to use TreCom for this contract

has rendered the Notice of Termination effectively rescinded.”

       44.     Nevertheless, MJ Freeway, in coordination with its parent company Akerna,

refuses to make any of the contractually required payments to TreCom.

       E.      Damages to TreCom

       45.     The financial damages to TreCom have been devastating and threaten its continued

existence.

       46.     MJ Freeway and Akerna have wrongfully withheld many hundreds of thousands of

dollars in payments they owe to TreCom for services rendered to date, and that figure is likely to

grow into the millions because Defendants’ contractual violations are ongoing and apparently

permanent. These damages will continue to accrue through at least April 2022, and will extend

into April 2025 should the Commonwealth exercise its exclusive right to continue the contract for

an additional three years.

       47.     Meanwhile, TreCom, a small business struggling to survive in the midst of the

Covid-19 pandemic, has been forced to expend substantial resources on personnel and equipment




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as it has fulfilled and continues to fulfill its own duties under the subcontractor agreement without

recompence.

                                     CLAIMS FOR RELIEF
                                   (Plaintiff v. All Defendants)

                            COUNT I—BREACH OF CONTRACT

        48.    All of the above paragraphs are incorporated by reference as if set forth in full here.

        49.    The May 26, 2017 subcontractor agreement and associated change orders constitute

a binding contract between TreCom and MJ Freeway.

        50.    The essential terms of the contract are that TreCom will perform certain

information technology services for payments totaling $5,546,999.11 from April 17, 2017, through

April 17, 2022, plus 35.09% of any payments MJ Freeway received from the Commonwealth

during any of the three option years the Commonwealth has the right to exercise through April 17,

2025.

        51.    TreCom has fulfilled and continues to fulfill all of its obligations under the contract.

        52.    Nevertheless, MJ Freeway has failed to make any of the contractually mandated

payments to TreCom since August 2020.

        53.    By this failure, MJ Freeway has breached and continues to breach its contractual

obligations to TreCom.

        54.    Because payments under the contract ordinarily were made by MJ Freeway’s parent

company Akerna, and high ranking officers of Akerna conveyed the message to TreCom that it no

longer would be paid, the circumstances of this case support a reasonable inference that Akerna

directed or otherwise participated in MJ Freeway’s breach of its contractual obligations to

TreCom.




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       55.      As a direct and proximate consequence of Defendants’ ongoing breach of contract,

TreCom is now suffering and will continue to suffer irreparable injury and monetary damages

unless and until this Court grants the relief requested herein.

       56.      No previous litigation has been brought concerning the subject matter of this

complaint or seeking the relief requested herein.

       57.      Wherefore, TreCom prays for relief as set forth below.

                             COUNT II—UNJUST ENRICHMENT
                                (Plaintiff v. All Defendants)

       58.      All of the above paragraphs are incorporated by reference as if set forth in full here.

       59.      TreCom has conferred—and continues to confer—substantial benefits upon MJ

Freeway and Akerna by performing extensive information technology services and supplying

related equipment since April 2017.

       60.      MJ Freeway and Akerna have appreciated all of the benefits TreCom has conferred.

       61.      Indeed, MJ Freeway requested and continues to request those benefits.

       62.      Again, because payments under the contract ordinarily were made by MJ Freeway’s

parent company Akerna, and high ranking officers of Akerna conveyed the message to TreCom

that it no longer would be paid, the circumstances of this case support the reasonable inference

that Akerna directed or otherwise participated in the decision to accept benefits from TreCom

without making corresponding payments.

       63.      Under the circumstances set forth in this complaint, it would be inequitable for MJ

Freeway and Akerna to retain the benefits conferred by TreCom without corresponding payment

of value.

       64.      MJ Freeway and Akerna have not made any payment of value for the benefits

conferred by TreCom since August 2020.



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          65.   As a result of Defendants’ unjust enrichment, Defendants are indebted to TreCom

for the value of the uncompensated benefits TreCom has conferred to them.

          66.   Wherefore, TreCom prays for relief as set forth below.

                                     PRAYER FOR RELIEF

          WHEREFORE Plaintiff TreCom Systems Group, Inc., prays for the entry of judgment as

follows:

          1.    Declaring that Defendants MJ Freeway, LLC, and Akerna Corporation have

breached their contractual obligations to Plaintiff;

          2.    Awarding actual damages to Plaintiff in an amount subject to proof;

          3.    Ordering restitution of all benefits by which Defendants were unjustly enriched;

          4.    Ordering disgorgement of all ill-gotten gains obtained by Defendants through their

misconduct;

          5.    Issuing a temporary and permanent injunction prohibiting Defendants from

engaging in the same wrongful conduct going forward;

          6.    Awarding pre-judgment and post-judgment interest at the maximum rate permitted

by law;

          7.    Reimbursing litigation costs incurred by Plaintiff in connection with this action;

and

          8.    Issuing such other relief as this Court deems just and proper.

                                               Respectfully submitted,

                                               /s/ Peter Carr
                                               Peter Carr
                                               Wadud Ahmad
                                               Ahmad Zaffarese LLC
Date: April 2, 2021                            Attorneys for TreCom Systems Group, Inc.




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